  Case 1:21-cr-00245-AJT Document 58 Filed 07/12/22 Page 1 of 2 PageID# 235




                         IN THE UNITED STATES DISTRICT
                        FOR THE EASTERN DISTRICT OF VIRGINIA                   '     -'
                                      Alexandria Division


UNITED STATES OF AMERICA
                                                                                      2- 28


               V.                                   Criminal No. l:21-CR-245(AJT)

IGOR Y. DANCHENKO,

                       Defendant.




                                  PRAECIPE FOR SUBPOENAS


       It is respectfully requested that the Clerk ofsaid Court issue subpoenas as indicated below

for appearance before said Court at Alexandria, Virginia in United States District Court at 9:00

o'clock a.m., on the 11th day of October 2022, then and there to testify on behalf of the United

States: thirty 130") subpoenas.




This 12th day of July 2022.


                                            Respectfully submitted,

                                            JOHN H. DURHAM
                                            Special Coimsel

                                            By:

                                             /s/ Michael T. Keiltv
                                            Jonathan E. Algor
                                            Andrew J. DeFilippis
                                            Michael T. Keilty
                                            Brittain Shaw
                                             Assistant Special Counsels
                Case 1:21-cr-00245-AJT Document 58 Filed 07/12/22 Page 2 of 2 PageID# 236

AO 89 (Rev.08/09)Subpoena to Testify at a Hearing or Trial in a Criminal Case


                                       United States District Court
                                                                         for the

                                                         Eastern District of Virginia
                   United States of America
                                  V.

                                                                                   Case No. 1:21-CR-245
                   IGOR Y. DANCHENKO
                             Defendant


                     SUBPOENA TO TESTIFY AT A HEARING OR TRIAL IN A CRIMINAL CASE


To:




       YOU ARE COMMANDED to appear in the United States district court at the time, date, and place shown
below to testify in this criminal case. When you arrive, you must remain at the court until the judge or a court officer
allows you to leave.
Place of Appearance: U.S. District Court                                           Courtroom No.: ygi
                            401 Courthouse Square
                            Alexandria, VA 22314                                   Date and Time: October 11, 2022, at 9:00 a.m.

          You must also bring with you the following documents, electronically stored information, or objects(blank ifnot
applicable)'.




          (SEAL)


Date:           07/12/2022
                                                                                   CLERK OF COURT



                                                                                             Signature ofClerk or Deputy Clerk



The name, address, e-mail, and telephone number ofthe attorney representing (name ofparty)
       United States of America                      ^ who requests this subpoena, are:

           Michael T. Keilty
           Assistant Special Counsel
           Special Counsel's Office
           145 N Street, NE
           Suite 3E 803
          Washington, D.C. 20530
          (718)938-5534
